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     Fill in this information to identify the case:


    United States Bankruptcy Court for the Southern District of Texas

    Case number (if known):                                      Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            06/22

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
 (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.    Debtor’s name                                Core Scientific, Inc.


   2.    All other names debtor used                  Power & Digital Infrastructure Acquisition Corp.
         in the last 8 years                          XPDI
         Include any assumed names, trade
                                                      Core Scientific Holding Co.
         names, and doing business as
         names



   3.    Debtor’s federal Employer
         Identification Number (EIN)                  XX-XXXXXXX


   4.    Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                            place of business


                                                      210        Barton Springs Road                                        2407             S. Congress Avenue
                                                      Number     Street                                                     Number           Street


                                                      Suite 300                                                             Ste. E-101
                                                                                                                            P.O. Box


                                                      Austin                      Texas             78704                   Austin                    Texas       78704
                                                      City                        State             ZIP Code                City                      State       ZIP Code

                                                                                                                            Location of principal assets, if different from
                                                                                                                            principal place of business
                                                      Travis
                                                      County
                                                                                                                            Number            Street




                                                                                                                            City              State           ZIP Code



   5.    Debtor’s website (URL)                       https://corescientific.com/

   6.    Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                      ☐ Partnership (excluding LLP)
                                                      ☐ Other. Specify:


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Debtor
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                                                                       number (if known)
               Core Scientific, Inc.                                                                                            22-_____ ( )
               Name


                                            A. Check one:
7.   Describe debtor’s business
                                            ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☒   None of the above


                                            B. Check all that apply:
                                            ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5182 - Data Processing, Hosting, and Related Services

8.   Under which chapter of the
                                            Check one:
     Bankruptcy Code is the
     debtor filing?                         ☐ Chapter 7
                                            ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and
     debtor” must check the first sub-                         its aggregate noncontingent liquidated debts (excluding debts owed to insiders
     box.                                                      or affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     A debtor as defined in § 1182(1) who                      recent balance sheet, statement of operations, cash-flow statement, and federal
     elects to proceed under subchapter V                      income tax return or if any of these documents do not exist, follow the procedure
     of chapter 11 (whether or not the                         in 11 U.S.C. § 1116(1)(B).
     debtor is a “small business debtor”)
     must check the second sub-box.                          ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                               are less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or
                                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                            ☐ Chapter 12
9.   Were prior bankruptcy cases            ☒ No
     filed by or against the debtor
                                            ☐ Yes        District                          When                         Case number
     within the last 8 years?
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                         District                          When                         Case number
                                                                                                        MM / DD/ YYYY




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       Page 2
Debtor
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                                                                         number (if known)
                Core Scientific, Inc.                                                                                                      22-_____ ( )
                Name


10. Are any bankruptcy cases                  ☐ No
    pending or being filed by a
    business partner or an                    ☒ Yes          Debtor       See Schedule 1                                      Relationship      See Schedule 1
    affiliate of the debtor?                                 District     Southern District of Texas                          When              December 21, 2022
      List all cases. If more than 1,                                                                                                            MM / DD/ YYYY
                                                             Case number, if known
      attach a separate list.



11.      Why is the case filed in this        Check all that apply:
         district?
                                              ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                              ☒ No
    possession of any real
    property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                           Where is the property?
                                                                                           Number                    Street


                                                                                           City                                State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                 Statistical and administrative information



   13. Debtor’s estimation of                 Check one:
       available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                              ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                    
                                              ☐   1-49                                 ☒     1,000-5,000                               ☐     25,001-50,000
       creditors                              ☐   50-99                                ☐     5,001-10,000                              ☐     50,001-100,000
          (on a consolidated basis with all   ☐   100-199                              ☐     10,001-25,000                             ☐     More than 100,000
          affiliated debtors)
                                              ☐   200-999



Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 Page 3
Debtor
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                                                                        number (if known)
               Core Scientific, Inc.                                                                                                 22-_____ ( )
               Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  17. Declaration and signature of                     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                      this petition.
      debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on December 21, 2022
                                                                         MM / DD/ YYYY


                                                            /s/ Todd DuChene                                           Todd DuChene
                                                            Signature of authorized representative of                  Printed name
                                                             debtor

                                                            President
                                                            Title




  18. Signature of attorney                             /s/ Alfredo R. Pérez                                         Date      December 21, 2022
                                                       Signature of attorney for debtor                                       MM / DD / YYYY
                                                       Alfredo R. Pérez                                             Ray C. Schrock, P.C.
                                                         Printed Name
                                                
                                                       Weil, Gotshal & Manges LLP                                   Weil, Gotshal & Manges LLP
                                                         Firm Name
                                                
                                                       700 Louisiana Street, Suite 1700                             767 Fifth Avenue
                                                         Address
                                                
                                                       Houston, Texas 77002                                         New York, New York 10153
                                                         City/State/Zip
                                                
                                                       (713) 546-5000                                               (212) 310-8000
                                                         Contact Phone
                                                
                                                       alfredo.perez@weil.com                                       Ray.Schrock@weil.com
                                                         Email Address
                                                
                                                       15776275                            Texas
                                                       Bar Number                          State



Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 4
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Official Form 201A (12/15)

                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
------------------------------------------------------------ x
                                                             :
In re                                                        :                    Chapter 11
                                                             :
CORE SCIENTIFIC, INC.,                                       :                    Case No. 22– ________ (                          )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                                    Attachment to Voluntary Petition for
                           Non-Individuals Filing for Bankruptcy under Chapter 11

       1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-40046.
        2.      The following financial data is the latest available information and refers to the debtor’s
condition on September 30, 2022.
          a. Total assets                                                            $ 1,404,001,000
          b. Total debts (including debts listed in 2.c., below)                     $ 1,330,974,000
          c. Debt securities held by more than 500 holders                            N/A

                                                                                                                       Approximate
                                                                                                                       number of holder
                      secured        unsecured            subordinated                   $
                      secured        unsecured            subordinated                   $
                      secured        unsecured            subordinated                   $
                      secured        unsecured            subordinated                   $

           d. Number of shares of preferred stock                                                                                0
           e. Number of shares common stock                                                                            364,710,000

          Comments, if any:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
        3.      Brief description of debtor’s business Core Scientific, Inc. operates facilities for digital
asset mining and colocation services in North America. It provides blockchain infrastructure, software
solutions, and services. The company mines digital assets for its own account and provides hosting
colocation services for other large-scale miners.

       4.       List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor:

                        Darin Feinstein                                              8.21 %
                        MPM Life LLC                                                 5.69 %
                        Michael Levitt                                               5.03 %

 Official Form 201A                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                               Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the affiliated entities listed below, including the debtor
in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the Southern District of Texas (Houston
Division) (the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases
of each Entity listed below be consolidated for procedural purposes only and jointly administered,
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
assigned to the chapter 11 case of Core Scientific, Inc..

                                             COMPANY

                   Core Scientific Mining LLC

                   Core Scientific, Inc.

                   Core Scientific Acquired Mining LLC

                   Core Scientific Operating Company

                   Radar Relay, Inc.

                   Core Scientific Specialty Mining (Oklahoma) LLC

                   American Property Acquisition, LLC

                   Starboard Capital LLC

                   RADAR LLC

                   American Property Acquisitions I, LLC

                   American Property Acquisitions VII, LLC
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                                         RESOLUTIONS OF
                                     THE BOARD OF DIRECTORS
                                               OF
                                       CORE SCIENTIFIC, INC.

                                            December 20, 2022

         WHEREAS, the Board of Directors (the “Board”) of Core Scientific, Inc., a Delaware corporation
(the “Company”), has, with the assistance of legal and financial advisors, been conducting a review of
strategic alternatives;

         WHEREAS, on November 14, 2022, the Board approved the formation of a special committee of
directors (the “Special Committee”), and delegated certain responsibilities, powers and authority to, among
other things, consider, analyze, evaluate, and oversee potential restructuring transactions and other strategic
alternatives that may be available to the Company and its subsidiaries with respect to the Company’s
existing outstanding indebtedness and contractual and other liabilities;

        WHEREAS, on December 12, 2022, the Board conveyed full decision‐making authority to the
Special Committee with respect to the evaluation, negotiations, and execution of any potential transaction;

        WHEREAS, at a prior meeting on the date hereof, the Special Committee authorized and approved
the actions set forth in these resolutions;

        WHEREAS, the Board has reviewed and had the opportunity to ask questions about the materials
presented by the management and the legal and financial advisors of the Company regarding the liabilities
and liquidity of the Company, the strategic alternatives available to it and the impact of the foregoing on
the Company’s business;

        WHEREAS, the Board has had the opportunity to consult with the management and the legal and
financial advisors of the Company to fully consider each of the strategic alternatives available to the
Company; and

       WHEREAS, the Board believes that taking the actions set forth below are in the best interests of
the Company and, therefore, desires to adopt, authorize, and approve the following resolutions:

I.       Commencement of the Chapter 11 Case

         NOW, THEREFORE BE IT RESOLVED, the Board has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the best interests
of the Company, its creditors, and other parties in interest that a petition be filed by the Company seeking
relief under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”); and
         RESOLVED, that any member, officer or director of the Company (each, an “Authorized
Officer”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, to negotiate, execute, verify, deliver and file, in the name and on behalf of
the Company, and under its corporate seal or otherwise, all plans, petitions, schedules, statements, motions,
lists, applications, pleadings, affidavits, declarations, orders, notices and other papers (collectively, the
“Chapter 11 Filings”) (with such changes therein and additions thereto as such Authorized Officer may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by
such Authorized Officer with any changes thereto to be conclusive evidence that such Authorized Officer
deemed such changes to meet such standard) in the Bankruptcy Court, and, in connection therewith, to take



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and perform any and all further acts and deeds which such Authorized Officer deems necessary, proper, or
desirable in connection with the Company’s chapter 11 case (the, “Chapter 11 Case”), including, without
limitation, negotiating, executing, delivering, performing and filing any and all documents, schedules,
statements, lists, papers, agreements, certificates, and/or instruments (or any amendments or modifications
thereto) in connection with, or in furtherance of, the Chapter 11 Case and the transactions and professional
retentions set forth in this resolution; and be it further
II.     Retention of Advisors

         RESOLVED, that, in connection with the Chapter 11 Case, any Authorized Officer, acting singly
or jointly, be, and each hereby is, authorized, empowered and directed, with full power of delegation, in the
name and on behalf of the Company, to employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers and other professionals, on behalf of the Company, that such
Authorized Officer deems necessary, appropriate or advisable in connection with, or in furtherance of, the
Chapter 11 Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Officer deemed the same to meet such standard); and be it further
         RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth Avenue,
New York, New York 10153, is hereby retained as attorneys for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of PJT Partners LP, located at 280 Park Avenue, New York, New York
10017, is hereby retained as investment banker for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of AlixPartners, LLP, located at 909 Third Avenue, New York, New
York 10022, is hereby retained as financial advisor for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of Stretto Inc., located at 7 Times Square, New York, New York 10036,
is hereby retained as claims and noticing agent for the Company in the Chapter 11 Cases, subject to
Bankruptcy Court approval; and be it further


III.    Debtor-in-Possession Financing

         RESOLVED, that in connection with the Chapter 11 Case, it is in the best interests of (i) in the
case of the Company (the “DIP Facility Borrower”), to enter into and obtain loans, (ii) in the case of the
Guarantors (as defined below), to guarantee the DIP Facility Borrower's obligations under the DIP Credit
Agreement (as defined below), and (iii) in the case of the DIP Facility Borrower and the Guarantors, to
consummate the transactions under that certain multiple draw superpriority senior secured debtor-in-
possession term loan credit facility in an aggregate principal amount of up to $75,000,000 to be evidenced
by that certain Secured Debtor-in-Possession Credit Agreement, by and among, the DIP Facility Borrower
and each of the Company’s subsidiary entities, as guarantors (the “Guarantors”), the lenders from time to
time party thereto (the “Lenders”), and the administrative agent for the Lenders (in such capacity and
together with its successors, the “Agent”) (together with the Exhibits and Schedules annexed thereto, the
“DIP Credit Agreement”; capitalized terms used in this section with respect to debtor-in-possession
financing and not otherwise defined herein shall have the meanings ascribed to such terms in the DIP Credit
Agreement) in each case subject to approval by the Bankruptcy Court, which is necessary and appropriate
to the conduct of the business of the Company (the “Debtor-in- Possession Financing”); and be it further




                                                     2
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         RESOLVED, that the execution and delivery of the DIP Credit Agreement and the DIP Financing
Documents (as defined below) by the Company and each of the Guarantors that is party thereto and the
consummation by the Company of the transactions contemplated thereunder, including (i) in the case of the
DIP Facility Borrower, the borrowing of funds under the DIP Credit Agreement, (ii) in the case of
Guarantors, the guaranty of the obligations thereunder as provided in any guaranty, (iii) in the case of the
DIP Facility Borrower and the Guarantors, the grant of a security interest in and liens upon substantially all
of the Company’s assets in favor of the secured parties (including the authorization of financing statements
in connection with liens) and (iv) the execution, delivery and performance of all other agreements,
instruments, documents, notices or certificates constituting exhibits to the DIP Credit Agreement or that
may be required, necessary, appropriate, desirable or advisable to be executed or delivered pursuant to the
DIP Credit Agreement or otherwise related thereto, including interest rate or currency hedging
arrangements (each a “DIP Financing Document” and collectively, the “DIP Financing Documents”),
the making of the representations and warranties and compliance with the covenants thereunder and the
assumption of any obligations under and in respect of any of the foregoing, are hereby authorized and
approved in all respects, and that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby severally authorized, empowered and directed, in the name and on behalf of
the Company, to execute and deliver the DIP Credit Agreement and any other DIP Financing Document to
which the Company is a party, with such changes therein and additions thereto as any such Authorized
Officer, in his or her sole discretion, may deem necessary, convenient, appropriate, advisable or desirable,
the execution and delivery of the Dip Credit Agreement and such DIP Financing Document with any
changes thereto by the relevant Authorized Officer, to be conclusive evidence that such Authorized Officer
deemed such changes to meet such standard; and be it further

        RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit Agreement,
including the use of proceeds to provide liquidity for the Company throughout the Chapter 11 Case,
substantially in the form presented to the Board and (ii) any and all of the other agreements, including,
without limitation, any guarantee and security agreement, letters, notices, certificates, documents and
instruments authorized, executed, delivered, reaffirmed, verified and/or filed in connection with the Debtor-
in-Possession Financing and the performance of obligations thereunder, including the borrowings and
guarantees contemplated thereunder, are hereby, in all respects confirmed, ratified and approved; and be it
further

         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to cause the Company
to negotiate and approve the terms, provisions of and performance of, and to prepare, execute and deliver
the DIP Credit Agreement and any other DIP Financing Document, in the name and on behalf of the
Company under its corporate seal or otherwise, and such other documents, agreements, instruments and
certificates as may be required by the Agent or required by the DIP Credit Agreement and any other DIP
Financing Documents; and be it further

        RESOLVED, that the Company be, and hereby is, authorized to incur the obligations and to
undertake any and all related transactions contemplated under the DIP Credit Agreement and any other DIP
Financing Document including the granting of security thereunder; and be it further

         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to grant security interests
in, and liens on, any and all property of the Company as collateral pursuant to the DIP Credit Agreement
and any other DIP Financing Document to secure all of the obligations and liabilities of the Company
thereunder to the Lenders and the Agent, and to authorize, execute, verify, file and/or deliver to the Agent,
on behalf of the Company, all agreements, documents and instruments required by the Lenders in
connection with the foregoing; and be it further



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         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to take all such further
actions including, without limitation, to pay all fees and expenses, in accordance with the terms of the DIP
Credit Agreement and any other DIP Financing Document, which shall, in such Authorized Officer's sole
judgment, be necessary, proper or advisable to perform the Company's obligations under or in connection
with the DIP Credit Agreement or any other DIP Financing Document and the transactions contemplated
therein and to carry out fully the intent of the foregoing resolutions; and be it further

        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations, substitutions and
extensions of the DIP Credit Agreement and/or any of the DIP Financing Documents which shall, in such
Authorized Officer's sole judgment, be necessary, proper or advisable; and be it further]

IV.     Restructuring Support Agreement

        RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that it is in
the best interests of the Company to enter into a Restructuring Support Agreement (the “Restructuring
Support Agreement”) on the terms and conditions substantially similar to those set forth in the form of
Restructuring Support Agreement previously provided to the Board; and be it further
         RESOLVED, that the form, terms and provisions of the Restructuring Support Agreement,
together with the term sheet annexed thereto (the “Term Sheet”) and the execution, delivery and
performance thereof and the consummation of the transactions contemplated thereunder by the Company
are hereby authorized, approved and declared advisable and in the best interest of the Company, with such
changes therein and additions thereto as the Authorized Officer executing the same may in his or her
discretion deem necessary or appropriate, the execution of the Restructuring Support Agreement to be
conclusive evidence of the approval thereof; and be it further
        RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of the Company, to cause the Company to deliver, certify, file and/or record, the
Restructuring Support Agreement, including the Term Sheet attached thereto and such other documents,
agreements, instruments and certificates as may be required by the Restructuring Support Agreement,
including the Term Sheet; and be it further

V.      General Authority and Ratification

         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, with full power of delegation, in the name and on behalf of the
Company, to take and perform any and all further acts or deeds that, in the judgment of such Authorized
Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11 Case,
including, but not limited to, (i) the negotiation of such additional agreements, amendments,
modifications, supplements, reports, documents, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities, notes, certificates, or other documents
that may be required, (ii) the execution, delivery, certification, recordation, performance under and filing
(if applicable) of any of the foregoing, and (iii) the payment of all fees, consent payments, taxes and other
expenses as any such Authorized Officer, in his or her sole discretion, may approve or deem necessary,
appropriate or desirable in order to carry out the intent and accomplish the purposes of the foregoing
resolutions and the transactions contemplated thereby, all of such actions, executions, deliveries, filings
and payments to be conclusive evidence of such approval or that such Authorized Officer deemed the




                                                     4
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same to meet such standard; and be it further
        RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in the name
and on behalf of the Company in furtherance of any or all of the preceding resolutions be, and the same
hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of the Company.




                                                  5
                             Case 22-90341 Document 1 Filed in TXSB on 12/21/22 Page 12 of 21


    Fill in this information to identify the case:

    Debtor name: Core Scientific, Inc.
    United States Bankruptcy Court for the Southern District of Texas
                                                  (State)
    Case number (If known):      22-_____ ( )                                                                                                 ☐ Check if this is an
                                                                                                                                                  amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                              12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes.1 Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
claims.
Name of creditor and complete mailing              Name, telephone number, and             Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                        email address of creditor contact            claim            claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                           (for example,       contingent,    amount. If claim is partially secured, fill in total claim
                                                                                            trade debts,      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                            bank loans,        or disputed    calculate unsecured claim.
                                                                                            professional
                                                                                           services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                                Total claim, if     Deduction for        Unsecured claim
                                                                                                                                  partially       value of collateral
                                                                                                                                  secured             or setoff2
1       BRF Finance Co., LLC                       Attn.: General Counsel
        Attn.: General Counsel                     Phone: (310) 966‐1444
        30870 Russell Ranch Road, Suite 250        Email: legal@brileyfin.com                Financing        Unliquidated                                               $42,364,611.00
        Westlake Village, California 91362

2       Dalton Utilities                           Attn.: Tom Bundros
        Attn.: Tom Bundros                         Phone: (706) 278‐1313
        1200 V D Parrott Jr Parkway                Facsimile: (706) 278‐7230                   Utility                                                                    $6,714,988.00
        Dalton, Georgia 30721                      Email: tbundros@dutil.com

3       Shell Energy Solutions                     Attn.: Marty Lundstrom
        Attn.: Marty Lundstrom                     Phone: (832) 510‐1042
        21 Waterway Avenue, Suite 450              Facsimile: (832) 510‐1128                   Utility                                                                    $3,808,132.00
        The Woodlands, Texas 77380                 Email:
                                                   marty.lundstrom@mp2energy.com
4       U.S. Customs and Border Patrol             Attn.: Raul Ortiz
        Attn.: Raul Ortiz                          Phone: (202) 344‐2050
        1300 Pennsylvania Avenue, Suite 4.4‐B      Facsimile: (973) 368‐6913               Customs Fees         Disputed                                                  $3,375,019.00
        Washington, District of Columbia 20229

5       Cooley LLP                                 Attn.: Daniel Peale
        Attn.: Daniel Peale                        Phone: (202) 842‐7835
                                                                                            Professional
        1299 Pennsylvania Avenue, NW               Email: dpeale@cooley.com                                                                                               $2,858,242.00
                                                                                              Services
        Suite 700
        Washington, District of Columbia 20004
6       Kentucky Department of Revenue             Attn.: Thomas B. Miller
        Attn.: Thomas B. Miller                    Phone: (502) 564‐5930
        501 High Street                            Facsimile: (502) 564‐8946                   Taxes            Disputed                                                  $2,762,948.00
        Frankfort, Kentucky 40601




1
    This list does not include secured creditors that did not properly perfect their security interests and may, thus, be treated as unsecured creditors.
2
  The listing of a claim as partially secured shall not be deemed an admission by the Debtors as to the validity or enforceability of the security interest. The Debtors reserve all
rights to challenge any amounts listed in this Top 30 creditor list.


    Official Form 204                                   List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 1
                           Case 22-90341 Document 1 Filed in TXSB on 12/21/22 Page 13 of 21
Debtor      Core Scientific, Inc.                                                                   Case number (if known)           22-_____ ( )
            Name

Name of creditor and complete mailing        Name, telephone number, and            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                  email address of creditor contact           claim            claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                    (for example,       contingent,    amount. If claim is partially secured, fill in total claim
                                                                                     trade debts,      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                     bank loans,        or disputed    calculate unsecured claim.
                                                                                     professional
                                                                                    services, and
                                                                                     government
                                                                                      contracts)
                                                                                                                         Total claim, if     Deduction for        Unsecured claim
                                                                                                                           partially       value of collateral
                                                                                                                           secured             or setoff2
7    Duke Energy                             Attn.: Tammy Daber, Power
     Attn.: Tammy Daber, Power Contracts     Contracts Administrator
     Administrator                           Phone: (866) 541‐8886
                                                                                        Utility                                                                    $2,113,213.00
     9700 David Taylor Drive,                Email:
     Mail Code: DT01X                        tammy.daber@duke‐energy.com
     Charlotte, North Carolina 28262
8    Priority Power Management LLC           Attn.: Robert L. Douglas
     Attn.: Robert L. Douglas                Phone: (408) 375‐0865                                     Unliquidated,
     2201 E Lamar Boulevard, Suite 275       Email:                                  Construction                      $24,000,000.00       $22,232,057.00         $1,767,943.00
                                                                                                         Disputed
     Arlington, Texas 76006                  rdouglas@prioritypower.com

9    Harper Construction Company, Inc.       Attn.: Stephen Marble
     Attn.: Stephen Marble                   Phone: (619) 233‐7900
     2241 Kettner Boulevard, Suite 300       Facsimile: (619) 233‐1889               Construction        Disputed       $9,200,000.00        $7,500,000.00         $1,700,000.00
     San Diego, California 92101             Email:
                                             lpz@harperconstruction.com
10   Trilogy LLC                             Attn.: Shamel Bersik
     Attn.: Shamel Bersik                    Phone: (888) 514‐4200
     6255 Saddle Tree Drive                  Email: Sam@trilogycorp.com              Equipment                                                                     $1,400,000.00
     Las Vegas, Nevada 89118

11   FlowTX                                  Attn.: Lucas Leavitt
     Attn.: Lucas Leavitt                    Phone: (210) 455‐0580
     8610 Broadway Street, Suite 211         Email: lleavitt@flowtx.com              Construction                                                                   $1,200,00.00
     San Antonio, Texas 78217

12   Moss Adams LLP                          Attn.: Findley Gillespie
     Attn.: Findley Gillespie                Phone: (206) 302‐6212                   Professional
     999 Third Avenue, Suite 2800            Email:                                                                                                                 $456,434.00
                                                                                       Services
     Seattle, Washington 98104               findley.gillespie@mossadams.com

13   Cherokee County Tax Collector           Attn.: Delenna Stiles, Tax Collector
     Attn.: Delenna Stiles, Tax Collector    Phone: (828) 837‐2421
     75 Peachtree Street, #225               Email:                                     Taxes                                                                       $413,737.00
     Murphy, North Carolina 28906‐2947       collections@cherokeecounty‐nc.gov

14   AAF International                       Attn.: Stuart Nichols
     Attn.: Stuart Nichols                   Phone: (803) 322‐8796
     9920 Corporate Campus Drive             Email: snichols@AAFintl.com             Trade Goods                                                                    $266,468.00
     Suite 2200
     Louisville, Kentucky 40223
15   Sidley Austin LLP                       Attn.: Scott Parel
     Attn.: Scott Parel                      Phone: (214) 981‐3431                   Professional
     2021 McKinney Avenue, Suite 2000        Email: sparel@sidley.com                                                                                               $231,085.00
                                                                                       Services
     Dallas, Texas 75201

16   Securitas Security Services USA Inc.    Attn.: Patrick Melody
     Attn.: Patrick Melody                   Phone: (763) 287‐6618                     Security
     4330 Park Terrace Drive                 Email:                                                                                                                 $195,373.00
                                                                                       Services
     West Lake Village, California 91361     patrick.melody@securitasinc.com

17   CDW Direct                              Attn.: Rick Kulevich, General
     Attn.: Rick Kulevich, General Counsel   Counsel
     200 N. Milwaukee Avenue                 Phone: (847) 465‐6000                   Trade Goods                                                                    $175,420.00
     Vernon Hills, Illinois 60061            Email: credit@cdw.com

18   CES Corporation                         Attn.: Scott Weatherall
     Attn.: Scott Weatherall                 Phone: (780) 910‐6037
                                                                                                       Contingent,
     28029‐108 Avenue                        Email: s.weatherall@cescorp.ca          Trade Goods                                                                    $174,951.00
                                                                                                       Unliquidated
     Acheson, AB T7X 6P7
     Canada

Official Form 204                                 List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 2
                          Case 22-90341 Document 1 Filed in TXSB on 12/21/22 Page 14 of 21
Debtor      Core Scientific, Inc.                                                                   Case number (if known)          22-_____ ( )
            Name

Name of creditor and complete mailing       Name, telephone number, and            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                 email address of creditor contact           claim            claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                                   (for example,       contingent,    amount. If claim is partially secured, fill in total claim
                                                                                    trade debts,      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                    bank loans,        or disputed    calculate unsecured claim.
                                                                                    professional
                                                                                   services, and
                                                                                    government
                                                                                     contracts)
                                                                                                                        Total claim, if     Deduction for        Unsecured claim
                                                                                                                          partially       value of collateral
                                                                                                                          secured             or setoff2
19   Marshall County Sheriff                Attn.: Trent Weaver, Sheriff
     Attn.: Trent Weaver, Sheriff           Phone: (270) 527‐3112
     52 Judicial Drive                      Email: marshallso@marshallco.org           Taxes                                                                       $162,181.00
     Benton, Kentucky 42025

20   Tenet Solutions                        Attn.: Accounting Department
     Attn.: Accounting Department           Phone: (651) 604‐2838
     1238 Grey Fox Road                     Email: Tenet‐AR@tenetsolutions.us       Trade Goods                                                                    $139,551.00
     Arden Hills, Minnesota 55112

21   Tenaska Power Services Co              Attn.: Drew Fossum
     Attn.: Drew Fossum                     Phone: (817) 462‐1521
     14302 FNB Parkway                      Email:                                     Utility                                                                     $113,951.00
     Omaha, Nebraska 68154                  TPMCustomerService@tnsk.com

22   Gensler                                Attn.: Todd Runkle
     Attn.: Todd Runkle                     Phone: (512) 867‐8113
     1011 S. Congress Avenue, Building 1,   Email: todd_runkle@gensler.com          Construction                                                                   $104,110.00
     Suite 200
     Austin, Texas 78704
23   OP                                     Attn.: Elise Chittick
     Attn.: Elise Chittick                  Phone: (713) 595‐0522
     10030 Bent Oak Drive                   Email: echittick@ophouston.com          Trade Goods                                                                     $97,274.00
     Houston, Texas 77040

24   Bergstrom Electric                     Attn.: Steve Wasvick
     Attn.: Steve Wasvick                   Phone: (701) 775‐8897
     3100 North Washington Street           Email:                                  Construction                                                                    $89,929.00
     Grand Forks, North Dakota 58208        Swasvick@berstromelectric.com

25   Amazon Web Services Inc.               Attn.: Rashmi Manchanda
     Attn.: Rashmi Manchanda                Phone: (415) 539‐5057
     410 Terry Avenue North                 Email: rmmanch@amazon.com              Cloud Services                                                                   $76,120.00
     Seattle, Washington 98109‐5210

26   McDermott Will and Emery LLP           Attn.: Erin West
     Attn.: Erin West                       Phone: (202) 756‐8135                   Professional
     1 Vanderbilt Avenue                    Email: eswest@mwe.com                                                                                                   $54,834.00
                                                                                      Services
     New York, New York 10017

27   DK Construction Company                Attn.: Justin Edwards, President
     Attn.: Justin Edwards, President       Phone: (270) 395‐7656                    Facility
     5165 Gilbertsville Highway             Facsimile: (270) 395‐1975                                                                                               $40,561.00
                                                                                   Maintenance
     Calvert City, Kentucky 42029‐0388

28   Reed Wells Benson and Company          Attn.: Kenneth Fulk
     Attn.: Kenneth Fulk                    Phone: (972) 788‐4222
     120010 N. Central Expressway,          Email: kfulk@rwb.net                    Construction                                                                    $34,400.00
     Suite 1100
     Dallas, Texas 75243
29   LiveView Technologies Inc.             Attn.: Chris Parker
     Attn.: Chris Parker                    Phone: (801) 221‐9408 Ext. 315
     1226 S 1480 W                          Email: chris.parker@lvt.com             Trade Goods                                                                     $25,877.00
     Orem, Utah 84058

30   Herc Rentals                           Attn.: Leslie Hunziker
     Attn.: Leslie Hunziker                 Phone: (239) 301‐1675
                                                                                    Equipment
     27500 Riverview Center Boulevard       Email:                                                                                                                  $22,898.00
                                                                                      Rental
     Suite 100                              leslie.hunziker@hercrentals.com
     Bonita Springs, Florida 34134



Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 3
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :   Chapter 11
                                                             :
CORE SCIENTIFIC, INC.,                                       :   Case No. 22– ________ (   )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                   PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                 Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart of

Core Scientific, Inc. (“Core Parent”) and its debtor affiliates (each, a “Debtor” and collectively,

the “Debtors”). Pursuant to Rule 1007(a)(3) of the Bankruptcy Rules, the below organizational

chart combined with this statement identify all holders having an equity interest in the above-

captioned debtor in possession. The Debtors respectfully represent as follows:

                 Equity ownership of Core Parent is represented by ordinary shares, 8.21% held by

Darin Feinstein, 5.69% held by Matthew Minnis through MPM Life LLC, 5.03% held by Michael

Levitt, and 81.07% widely held by other shareholders in the aggregate.

                 As set forth on Exhibit A, Core Parent owns 100% of the outstanding equity

interests of (i) Core Scientific Acquired Mining LLC (“Core Mining”), (ii) Core Scientific Mining

LLC, and (iii) Core Scientific Operating Company (“Core Operating”).
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              Core Mining owns 100% of the outstanding equity interests of Radar Relay, Inc.

(“Radar Relay”). Radar Relay, in turn, owns 100% of the outstanding equity interests of RADAR

LLC and Starboard Capital LLC.

              Core Operating owns 100% of the outstanding equity interests of Core Scientific

Specialty Mining (Oklahoma) LLC and American Property Acquisition LLC (“American

Property Acquisition”).

              American Property Acquisition owns 100% of the outstanding equity interests of

American Property Acquisitions I, LLC and American Property Acquisitions VII, LLC.

              As noted on Exhibit A, Core Parent owns approximately 19% of the outstanding

equity interest of Non-Debtor Core Scientific Partners, LP, which, is owned in part by, and owns

equity interests in, various other non-Debtor affiliates of Core Parent (collectively, the “Non-

Debtor Affiliates”). The Non-Debtor Affiliates were formed in connection with a potential

transaction that was not consummated and are currently dormant.




                                         List of Equity Holders                               2
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                           Exhibit A

                      Organizational Chart
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :             Chapter 11
                                                             :
CORE SCIENTIFIC, INC.,                                       :             Case No. 22– ________ (      )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                                     LIST OF EQUITY HOLDERS1

                 Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest, of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☒       There are no equity security holders or corporations that directly or indirectly own 10%
        or more of any class of the Debtor’s equity interest.

☒       The following are the Debtor’s equity security holders (list holders of each class, showing
        the number and kind of interests registered in the name of each holder, and the last
        known address or place of business of each holder):

    Name and Last Known Address or Place of                            Kind/Class of          Number of
              Business of Holder                                         Interest           Interests Held

                     Darin Feinstein
                                                                      Common Stock              8.21%
                     Address on File




1
     This list reflects holders of five percent or more of the Core Parent’s common stock, as of December 2 2022.
     The calculation is based on a total of 363,391,323 shares of common stock outstanding as of December 2, 2022.
     This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of
     Bankruptcy Procedure. By separate motion, the Debtors will request a waiver of the requirement under Rule
     1007 to file a list of all its equity holders.

                                                  List of Equity Holders                                       1
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Name and Last Known Address or Place of               Kind/Class of     Number of
          Business of Holder                            Interest      Interests Held
            MPM Life LLC
         Attn.: Matthew Minnis
                                                     Common Stock        5.69%
            P.O. Box 22549
         Houston, Texas 77227

            Michael J. Levitt
                                                     Common Stock        5.03%
            Address on File




                                 List of Equity Holders                                2
            Case 22-90341 Document 1 Filed in TXSB on 12/21/22 Page 21 of 21




 Fill in this information to identify the case:

 Debtor name: Core Scientific, Inc.
 United States Bankruptcy Court for the Southern District of Texas
                                                  (State)
 Case number (If known):        22-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule ____
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
         Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity
         Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on December 21, 2022
                                                           /s/ Todd DuChene
                                                            Signature of individual signing on behalf of debtor
                     MM /DD /YYYY
                                                            Todd DuChene
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
